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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                                      No. 1:13-CR-00085-LJO-BAM

                  Plaintiff,
                                                               DETENTION ORDER
       v.                                                      (Violation of Supervised Release)

JESUS FELIX,

                  Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of
supervised release; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court orders the above-named defendant detained and finds that:
         The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to flee; and/or

   X     The defendant has not met defendant’s burden of establishing by clear and convincing evidence
that defendant is not likely to pose a danger to the safety of any other person or the community if
released under 18 U.S.C. § 3142(b) or (c).
       This finding is based on the reasons stated on the record.

IT IS SO ORDERED.


   Dated:     May 15, 2017                               /s/
                                                  UNITED STATES MAGISTRATE JUDGE
